  UNITED STATES BANKRUPTCY COURT                                                                                 Page 1 of 1

  WESTERN DISTRICT OF WASHINGTON
  PDF FILE WITH AUDIO FILE ATTACHMENT

        24-01085-CMA

        Roberts v. Rominger et al

        Motion in Limine to Establish Scope of Trial with Respect to Plaintiffs Standing
        with Notice of Hearing.



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        Case Number :                     24-01085-CMA
        Case Title :                      Roberts v. Rominger et al
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